Case 2:04-cV-02937-.]DB-tmp Document 19 Filed 05/12/05 Page 1 of 2 Page|D 13

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IN THE UNITED STATES DISTRICT COURT v _ " ac-
FoR THE WESTERN DISTRICT oF TENNESSEE 55 fit ft z y
WESTERN DIVISION h f

TONI SWANIGAN, et al.,

 

Plaintiffs,

v. No. 04-2937-B/P
NORTHWEST AIRLINES, INC.,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant Northwest Airlines’ Motion to Stay Discovery Pending a
Ruling by the Court on Northwest’s Motion for Judgment on the Pleaclings with Respect to
Plaintiffs’ Class Action Allegations filed on May 10, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. w Rule 72(a), Federal Rules of Civil Procedure.

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IT rs so oRDERED this 12 day of May, 2005.

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UJ DANIEL BREEN \
NI UED sTATEs DISTRICT JUDGE

Th!s document entered on the dockets seat in compliance
aim time 53 and/or 79(3) FHCP on / ~(, 5

 

 

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